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VO’ ERev TD 11) Appearance Bonu

 

 

UNITED STATES DISTRICT COURT
FILED

for the

District of Columbia OCT ? 0 2020

United States of America } —
v ) Clerk, U.S. District and
Bankruptcy Courts
ELLIOTT BROIDY ) Case No. 20-210 (CKK) picy

— )
Defendant )

APPEARANCE BOND

Defendant's Agreement

in ELLIOTT BROIDY (defendant), agree to follow every order of this court, or any

court that considers this case. and | further agree that this bond may be forfeited if | fail:
(xX) to appear for court proceedings:
(xX) if convicted. to sunender to serve a sentence that the court may impose: or
(xX ) to comply with all conditions set forth in the O:der Setting Conditions of Release

Type of Bond

( X ) (1) This is a personal recognizance bond

( ) (2) This is an unsecured bond of $
( ) (3) This isasecured bondof$S oo secured by:
( )@s . in cash deposited with the court.

( ) (b) the agreement of the defendant and each surety to forfeit the following cash or other property
(describe the cash or other property, including claus on it~ such as a tien, mortgage, oF loan — and attach proof af

ownership and value!

If this bond is secured by real property. documents to protect the secured interest may be filed of record.

( ) (c) a bail bond with a solvent surety tarach a copy of the hurl boned, oF descrthe itand identify the surety):

Forfeiture or Release of the Bond

Forfeiture of the Bond ‘Vhs appearance bond may be forfeited if the defendant does not comply with the above
agreement. The court may immediately order the amount of the bond surrendered to the United States, including the
security for the bond. if the defendant does not comply with the agreement. At the request of the United States, the court
may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including

interest and casts
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AQ Y8 (Rev 12, Eb) Appearance Bonu

 

Release of the Band The court may order thts appearance bond ended at any ttme This bond will be satisfied and the
security Will be released when either (1) the defendant is found not guilty on all charges. or (2) the defendant reports to

serve a sentence.

Declarations

Ownership of the Property 1, the defendant — and cach surety — declare under penalty of perjury that:

Q) all owners of the property securing this appearance bond are included on the bond;
(2) the property is not subject to claims, except as described above; and
(3) I will not sell the property. allow further claims to be made against tt. or do anything to reduce its value

while this appearance bond ts in effect

eleceptance |, the defendant - and cach surety — have read this appearance bond and have either read all the conditions

of release set bs the court or had them explamed to me | agree to this Appearance Bond.

|. the defendant — and each surety — declare under penalty of perjury that this information is true. (See 28 U.S.C. § 1746.)

Dates : Defendant's Signature wawed
Defendant's signature

 

 

Surety property owner — signature and date

 

Swed propert owner = printed name

 

Surery property owner — signature and date

Surety property over — printed nuiie

 

Surety property owner -- signature and date

Stet Property ov ane — praiiedd nante

CLERK OF COURT

Date: /C-.20. 2020 A. aris 1d ttdrase

Stenatione of Clerk or Deputy Clerk

Approved. d 5 /
i040. F020 (‘Word Koll 4 +

Date fo

Judge's signature
